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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

   JOHNNY FERNANDEZ and RESCAL VO
   MERCENARIO (A/K/A RICARDO),
   individually and on behalf of others
   similarly situated,
                                        Plaintiffs,         Case No. 19-cv-3496


                       against-

   RAY AND FRANK LIQUOR STORE INC.
   (D/B/A RAY AND FRANK'S LIQUOR                                 'l                                                            r_,- ~,
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   STORE)   and RAYMOND     FRIAS,
                                                                  :. v •c ,'··                                                           '·
                                  De endants.                    ;~ :~ :~-.. ~ -~ .~~ -io·l~1/i~i2i'.
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                                     [PJ:Gp6sed] iRJDGP'IIEM
                                           JUDGMENT

         On October 26, 2020 Plaintiff filed a notice of acceptance of offer of judgment pursuant
to Rule 68 of the Federal Rules of Civil Procedure;
         NOW, it is hereby ORDERED, ADJUDGED AND DECREED as follows :
         That the Plaintiffs JOHNNY FERNANDEZ and RESCAL VO MERCENARIO have
judgment against Defendant RAYMOND FRIAS, in the amount of $60,000, (Sixty Thousand
Dollars) which is inclusive of attorneys' fees and costs.



Dated:   i.!.pZ,    2020
